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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                   v.                   10-CR-188A(Sr)

JAVIER NAVARRO,

           Defendant.
_____________________________________


                                DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.



                              PRELIMINARY STATEMENT

              The defendant, Javier Navarro, is charged in counts 2, 4, 5, 6, 7 and 12 of

a 13 count indictment against 23 defendants with participation in a continuing criminal

enterprise, in violation of Title 21, United States Code Sections 841(a)(1), 843(b), 846

and 856(a)(1), in violation of Title 21, United States Code Section 848(a); conspiracy to

possess with intent to distribute, and to distribute, five kilograms or more of a mixture

and substance containing cocaine and a mixture and substance containing marijuana,

in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and

841(b)(1)(D), in violation of Title 21 United States Code Section 846; two counts of

possession with intent to distribute 500 grams or more of a mixture and substance

containing cocaine, in violation of Title 21, United States Code Sections 841(a)(1) and

841(b)(1)(B) and Title 18 United States Code Section 2; use and maintenance of the
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premises at 16 Blum Avenue for the purpose of manufacturing, distributing and using

cocaine and marijuana, in violation of Title 21, United States Code, Section 856(a)(1)

and Title 18, United States Code, Section 2, in violation of Title 21, United States Code,

Section 2; and unlawful possession of firearms in furtherance of drug trafficking crimes,

in violation of Title 18, United States Code, Section 924(c)(1) and 2 . Dkt. #1. The

defendant also faces forfeiture of money pursuant to Title 21, United States Code,

Sections 853(a)(1), 853(a)(2), and 853(p), and forfeiture of firearms and ammunition

pursuant to Title 18, United States Code, Sections 924(d) and 3665; Title 28, United

States Code, Section 2461©; and Title 21, United States Code, Section 853. Dkt. #1.



               The defendant filed an omnibus motion. Dkt. #313. The government filed

a response and request for reciprocal discovery. Dkt. #374.



                               DISCUSSION AND ANALYSIS

Inspection of Grand Jury Minutes & Dismissal of Indictment

               As defendant’s motion for inspection of grand jury minutes and dismissal

of the indictment based upon presumed defects within the grand jury proceedings is

premised upon New York State’s Criminal Procedure Law, which is inapplicable to this

federal indictment, this aspect of defendant’s motion is denied.



Bill of Particulars

               “Rule 7(f) of the Federal Rules of Criminal Procedure permits a defendant

to seek a bill of particulars in order to identify with sufficient particularity the nature of


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the charge pending against him, thereby enabling defendant to prepare for trial, to

prevent surprise, and to interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d

Cir. 1987). Thus, a bill of particulars is required only where the charges of the

indictment are so general that they do not advise the defendant of the specific acts of

which he is accused. United States v. Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied,

543 U.S. 994 (2004); United States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999). “The

prosecution need not particularize all of its evidence.” United States v. Davidoff, 845

F.2d 1151, 1154 (2d Cir. 1988). “Moreover, ‘a bill of particulars is not necessary where

the government has made sufficient disclosures concerning its evidence and witnesses

by other means.’” Id., quoting Walsh, 194 F.3d at 47. “Generally, the particulars as to

the formation of a conspiracy need not be set forth by the prosecution,” as such details

“are not necessary to allow the defendant to prepare his defense or to plead double

jeopardy.” United States v. Iannelli, 53 F.R.D. 482, 483 (S.D.N.Y. 1971). “The decision

of whether or not to grant a bill of particulars rests within the sound discretion of the

district court.” Bortnovsky, 820 F.2d at 574; United States v. Panza, 750 F.2d 1141,

1148 (2d Cir. 1984). As the charges in the indictment, along with the discovery

materials provided by the government and the affidavit in support of the criminal

complaint clearly inform the defendant of the essential facts of the crimes charged, the

defendant is not entitled to, nor is he in need of, the particulars being sought for that

purpose. As a result, defendant’s motion is denied.




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Discovery & Inspection

              The government represents that it is in compliance with its obligations

pursuant to Rule 16 of the Federal Rules of Criminal Procedure and declares its

intention to disclose any additional information subject to Rule 16 as it is discovered.

Dkt. #374, pp.13-15. In accordance with Rule 12(b) of the Federal Rules of Criminal

Procedure, the government notifies the defendant of its intention to introduce any

evidence disclosed to defendant at trial. Dkt. #374, p.15. However, the government

notes that many of defendant’s requests are beyond the scope of pre-trial discovery.

Dkt. #374, p.15



Defendant’s Statements

              In reliance upon the government’s representation that it has disclosed

defendant’s statements to law enforcement personnel pursuant to Rule 16(a)(1)(A) of

the Federal Rules of Criminal Procedure, this aspect of defendant’s motion is denied as

moot. Defendant’s request for statements of any defendant is beyond the scope of Rule

16.



Statements of Co-Conspirators

              Rule 16 does not encompass co-conspirator statements. United States v.

Percevault, 490 F.2d 126, 131 (2d Cir. 1974). The Jencks Act provides the exclusive

procedure for discovering statements that government witnesses – including co-

conspirators – have given to law enforcement agencies. In re United States, 834 F.2d

283, 286 (2d Cir. 1987). Rule 801(d)(2)(E) of the Federal Rules of Evidence does not

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contain a required pretrial notice and therefore, there is no requirement on the part of

the government to disclose statements made by a defendant’s co-conspirator during

and in furtherance of the conspiracy. The admissibility of any such statements is best

addressed by the trial judge. United States v. Tellier, 83 F.3d 578, 580 (2d Cir.), cert.

denied, 519 U.S. 955 (1996). Accordingly, this aspect of defendant’s motion is denied.



F.R.E. 807

              In reliance upon the government’s representation that it has no present

intention of introducing any statement within the residual hearsay exception set forth in

Rule 807 of the Federal Rules of Evidence, and its acknowledgment of its obligations

should it determine the exception applicable, this aspect of defendant’s motion is

denied as moot.



Fed. R. Crim. P. 16(a)(1)(F) & (G)

              In reliance upon the government’s representation that it will disclose all

materials that are discoverable under Rule 16(a)(1)(F) of the Federal Rules of Criminal

Procedure and that it will comply with Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure, as well as Rules 702, 703 and 705 of the Federal Rules of Evidence, and

that it will cooperate with defendant to provide the chemists’ credentials and methods in

the event that the defendant declines to stipulate as to the reports regarding the

controlled substances, as well as the qualifications of government law enforcement

experts relating to vague/coded drug references and firearms, this aspect of

defendant’s motion is denied as moot.

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Identification

                 In reliance upon the government’s representation that it has and will

disclose information relating to pretrial identification procedures, defendant’s request for

visual or audio identification procedures is denied as moot. Issues of admissibility of

testimony identifying defendant’s voice, as provided by Rule 901 of the Federal Rules

of Evidence, are best left to the trial judge.



Documents and Physical Evidence

                 In reliance upon the government’s representation that it has complied with

Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure, and that any additional

items will be provided voluntarily as they are identified, defendant’s motion for Title III

wiretap applications, pen register applications, search warrant applications, videotapes,

audiotapes, photographs and other documents, objects and physical evidence is denied

as moot.



Federal & Law Enforcement Documents

                 Defendant’s expansive request for federal documents and law

enforcement documents is denied as beyond the scope of the government’s discovery

obligations. Rule 16(a)(2) of the Federal Rules of Criminal Procedure specifically

exempts

                 the discovery or inspection of reports, memoranda, or other
                 internal government documents made by an attorney for the
                 government or other government agent in connection with
                 investigating or prosecuting the case. Nor does this rule
                 authorize the discovery or inspection of statements made by
                 prospective government witnesses except as provided in 18
                 U.S.C. § 3500.

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Transcripts of Intercepted Calls

               In reliance upon the government’s representation that it has provided call

summaries and complete transcripts containing Spanish/English translation, as well as

the underlying recorded conversations, and that it will continue to provide transcripts as

they are completed, defendant’s request for verbatim transcripts of all conversations

relevant to the case in both Spanish and English is denied as moot.



Summaries and Logs of Conversations

               In reliance upon the government’s representation that all information

regarding intercepted conversations, call detail, and summaries have been provided

and that any additional items will be provided voluntarily should they be discovered, this

aspect of defendant’s motion is denied as moot.



Witness List

               In the absence of a specific demonstration of necessity for such

information, the defendant’s request for a list of witnesses is denied. See United States

v. Bejasa, 904 F.2d 137, 139-40 (2d Cir.), cert. denied, 498 U.S. 921 (1990).



F.R.E. 403, 404(b) and 609

               The government notifies defendant that it intends to introduce at trial,

pursuant to Rule 404(b) of the Federal Rules of Evidence, all prior criminal conduct to

show proof of defendant’s motive, opportunity, intent, preparation, plan, knowledge,

identity, and absence of mistake or accident and represents that it will timely disclose


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evidence within the ambit of Rules 404(b), 608(d) and 609 of the Federal Rules of

Evidence, but notes that it has no obligation to provide defendant with information that

could be used to impeach him pursuant to Rule 608, should he elect to testify. In

reliance upon the government’s representations, this aspect of defendant’s motion is

denied as moot.



Brady, Giglio & Jencks Material

              The government acknowledges its responsibility under Brady v. Maryland,

373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent

cases. The government has also represented that it will comply with the requirements

of 18 U.S.C. § 3500 with respect to production of statements of witnesses called to

testify at trial. As a result of these representations, this aspect of defendant’s motion is

denied, but the government is hereby directed to comply with the Second Circuit Court

of Appeals’ holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United

States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those

materials to the defendant.



Identity of Informants

              Disclosure of the identity or address of a confidential informant is not

required unless the informant’s testimony is shown to be material to the defense.

United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089

(1988); see Roviaro v. United States, 353 U.S. 53, 59 (1957) (government generally is

not required to disclose identity of confidential informants). “Speculation that disclosure


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of the informant’s identity will be of assistance is not sufficient to meet the defendant’s

burden; instead the district court must be satisfied, after balancing the competing

interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” United States

v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is not

sufficient that the informant was a participant and witness to the crime. Saa, 859 F.2d

at 1073. As the fact that many of the informants in this case were participants in the

criminality alleged in the indictment is insufficient to demonstrate that disclosure of

information regarding government informants is warranted in this matter at this time,

this aspect of defendant’s motion is denied.



Joinder in Co-Defendants’ Motions

              It is hereby ordered that the decision made by this Court as to each co-

defendant’s requests contained in the motions in which this defendant has standing to

join shall also be deemed to be the finding and Order of this Court as to the defendant

herein.



Leave to Make Further Motions

              Defendant’s request for leave to make further motions is granted provided

that any additional bases for relief are based on facts or information learned by reason

of the continuation of the investigation or facts and circumstances revealed in the

government’s response to the instant motion or this Court’s Decision and Order.



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Government’s Request for Reciprocal Discovery

              Since the defendant has moved pursuant to Rule 16(a)(1) of the Federal

Rules of Criminal Procedure for similar materials and information, the government is

entitled to reciprocal discovery pursuant to Rule 16(b)(1), and its request is hereby

granted. The government’s motion with respect to Rule 807 of the Federal Rules of

Evidence is denied as moot by reason of the requirements contained within Rule 807 of

the FRE wherein it is specifically stated:

              However, a statement may not be admitted under this
              exception unless the proponent of it makes known to the
              adverse party sufficiently in advance of the trial or hearing to
              provide the adverse party with a fair opportunity to prepare
              to meet it, the proponent’s intention to offer the statement
              and the particulars of it, including the name and address of
              the declarant.


              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

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Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of



Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              June 15, 2012

                                           s/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




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